                            UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH

UNITED STATES OF AMERICA,                        ORDER GRANTING MOTION TO
                                                 DISMISS ALLISON BAVER
                      Plaintiff,                 ENTERTAINMENT, LLC’S PETITON
                                                 WITH PREJUDICE
       vs.
                                                 Case No. 2:21-CR-00520-JNP
ALLISON MARIE BAVER,
                                                 Judge Jill N. Parrish
                      Defendant.


ALLLISON BAVER ENTERTAINMENT, LLC,

                      Third-Party Petitioner.


       Based on the United States’ Motion to Dismiss Third-Party Petition, and good cause

appearing, the motion is GRANTED.

       IT IS THEREFORE ORDERED that Allison Baver Entertainment, LLC’s petition (ECF

210) is dismissed with prejudice.

       Dated this ____ day of September, 2024.

                                            BY THE COURT:



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                                            JILL N. PARRISH
                                            United States District Court Judge
